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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 LORI DRING and NANCY ASARO,
            Plaintiffs,
                                                            3:23-CV-01576
     v.
                                                            (WILSON, J.)
 MICHAEL G. ABERNATHY, et al.,
            Defendants.

            EGAN DEFENDANTS’ MOTION TO FILE
   ADDITIONAL REPLY BRIEF TO PLAINTIFFS’ SUR-REPLY BRIEF

      Defendants Mary Elizabeth Emmel and William J. Egan, Jr., Trustees under

the Irrevocable Living Trust Agreement of Elizabeth O’Hara Kelly dated June 6,

2002 ("Kelly Trust") and Defendant William J. Egan ("Egan") (collectively, "Egan

Defendants"), by their undersigned counsel, submit their Motion to File Additional

Reply Brief to the Sur-Reply Brief filed by Plaintiffs Lori Dring and Nancy Asaro.

In support thereof, the Egan Defendants aver as follows:

      1.      On September 21, 2023, Plaintiffs Lori Dring and Nancy Asaro

commenced this action by filing their Complaint consisting of 155 paragraphs spread

over 68 pages with 27 separate exhibits attached thereto.

      2.      In response to Plaintiffs’ Complaint, the Egan Defendants timely filed

their Motion to Dismiss and thereafter timely filed their Brief in Support thereof.

      3.      Similarly, the remaining Defendants timely filed their Motion to

Dismiss Plaintiffs’ Complaint and timely filed their supporting Brief.
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      4.     In opposition to the dispositive motions, Plaintiffs filed their opposing

Brief and attached an additional four (4) exhibits thereto.

      5.     The Egan Defendants and the remaining Defendants timely filed Reply

Briefs in support of their pending Motions to Dismiss Plaintiffs’ Complaint.

      6.     In response, Plaintiffs filed a motion seeking permission from this

Court to file their Sur Reply Brief which this Court granted by Order dated February

13, 2024.

      7.     Thereafter, on February 23, 2024, Plaintiffs filed their Sur Reply Brief

and again attached four (4) exhibits thereto, including an Agreement and Release

from April, 2019 that Plaintiffs had possessed during the past nearly five (5) years.

      8.     The Agreement and Release from April, 2019 does not refer to or

purport to amend or supplement the August 28, 2006 Settlement Agreement attached

as Exhibit Q to Plaintiffs’ Complaint and relied upon by Defendants in their pending

Motions To Dismiss Plaintiffs’ Complaint.

      9.     Plaintiffs also cast aspersions upon the Egan Defendants and accused

the Egan Defendants of intentionally failing to attach the April, 2019 Agreement and

Release to support their Motion To Dismiss.

      10.    Curiously, Plaintiffs contend that the April, 2019 agreement supports

their position, when, upon cursory review, Paragraphs 4 and 5 thereof demonstrate

the fallacy of Plaintiffs’ claims:


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             4.      Plaintiffs or their successors-in-interest or successors-in-
             title reserve the right to defend against any trespass claims filed
             by Dring and Asaro or their successors-in-interest or successors-
             in-title for any trespass that may be committed over the west
             shore strip on or after April 1, 2019 and to defend against any
             claims for continuing trespass which commenced prior to that
             date.
             5.      This Agreement and Release is not intended to be, nor
             should it be construed, as a waiver by Plaintiffs, their successors-
             in-interest or successors-in-title of any defense that they may
             have to any trespass claim instituted by Dring and Asaro or their
             successors-in-interest or successors-in-title for trespass
             committed on or after April 1, 2019, or any claim instituted by
             Dring and Asaro or their successors-in-interest or successors-in-
             title for continuing trespass which commenced prior to that date.
             *            *             *
             11. This Agreement and Release constitutes the entire
             agreement of all parties as to the matter set forth herein.

See Plaintiffs’ Exhibit “1” to their Sur Reply Brief, filed February 23, 2024.

      11.    In order to properly address issues raised by Plaintiffs’ belated reliance

upon the April, 2019 Agreement and Release, the Egan Defendants request

permission to file an additional reply brief not to exceed eight (8) pages.

      12.    Good cause exists for the Egan Defendants’ request, including

Plaintiffs’ belated efforts to inject new issues and new arguments into the pending

Motions to Dismiss Plaintiffs’ Complaint.




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      WHEREFORE, for all or any of the foregoing reasons, the Egan Defendants

respectfully request this Court for its Order allowing them a period of time not to

exceed fourteen (14) days to file an Additional Reply Brief in support of their

pending Motion To Dismiss Plaintiffs’ Complaint and to address the issues raised

by Plaintiffs’ Sur-Reply Brief and its exhibits.

                                              Respectfully submitted,

                                               s/ Geff Blake
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                                               s/ Patrick J. Boland, III
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DATED: March 4, 2024                          Attorney for William J. Egan




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                 CERTIFICATE OF NON-CONCURRENCE

      The undersigned counsel hereby certifies that he has conferred with Plaintiffs’

counsel, and they do not concur in the relief requested in the foregoing Motion.

      Counsel for the remaining Defendants concur in the requested relief.




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DATED: March 4, 2024                         Attorney for Egan Defendants
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                             CERTIFICATE OF SERVICE

       I, Geff Blake, Esq., hereby certify that on this date, I served a copy of the Motion to File

Reply Bried to Plaintiffs’ Sur-Reply Brief on all counsel of record by ECF Electronic Delivery,

addressed as follows:

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DATED: March 4, 2024                                        Attorney for Egan Defendants
